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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF WYOMING

JAYLYN WESTENBROEK, HANNAH,
HOLTMEIER, ALLISON COGHAN, GRACE
CHOATE, MADELINE RAMAR, and MEGAN
KOSAR, on behalf of themselves and
derivatively on behalf of KAPPA KAPPA
GAMMA FRATERNITY,

Plaintiffs,

VS. Civil Action No.: 23-CV-00051-ABJ
KAPPA KAPPA GAMMA FRATERNITY, an
Ohio non-profit corporation, as a Nominal
Defendant and as a Direct Defendant;

MARY PAT ROONEY, President of the
Fraternity Council of KAPPA KAPPA GAMMA
FRATERNITY, in her official capacity, KAPPPA
KAPPA GAMMA BUILDING CO., a Wyoming
non-profit corporation, and ARTEMIS
LANGFORD,

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Defendants.

MOTION FOR ADMISSION PRO HAC VICE OF NATALIE M. MCLAUGHLIN

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Pursuant to U.S.D.C.L.R. 84.2(b) Scott P. Klosterman of the law firm of WILLIAMS,
PorTER, DAY & NEVILLE P.C., hereby moves this Court to admit Natalie M. McLaughlin of
VoryYS, SATER, SEYMOUR AND PEASE LLP, 52 East Gay Street, Columbus, Ohio 43215, pro hac
vice, as counsel for Defendants Kappa Kappa Gamma Fraternity, Mary Pat Rooney, and Kappa
Kappa Gamma Building Co. in the above-captioned matter.

The undersigned counsel is a member in good standing of the Bar of the State of Wyoming
and the Bar of this Court. The undersigned counsel hereby vouches for the good moral character
and veracity of Natalie M. McLaughlin. The undersigned counsel is fully prepared to represent
Defendants Kappa Kappa Gamma Fraternity, Mary Pat Rooney, and Kappa Kappa Gamma
Building Co. at any time, in any capacity. This Motion also incorporates by reference and relies
on the Affidavit of Natalie M. McLaughlin in Support of Motion for Admission Pro Hac Vice which
is attached as Exhibit A to this Motion, and the admission fee has been paid to the Court with the
submission of this Motion.

DATED this 5" day of June, 2023.

KAPPA KAPPA GAMMA FRATERNITY,
MARY PAT ROONEY, and KAPPA KAPPA
GAMMA BUILDING CO., Defendants

/s/ Scott P. Klosterman

Scott P. Klosterman (#6-308 1)

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CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the foregoing document
was delivered to the Court via the CM/ECF System and served upon counsel via CM/ECF
electronic transmission this 5" day of June, 2023.

Cassie Craven (#7-5664)
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/s/ Scott P. Klosterman

Scott P. Klosterman
